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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

SANDI BIRNE,

               Plaintiff,

v.                                                    Case No.: 2:17-cv-400-FtM-38MRM

COMMISSIONER OF SOCIAL
SECURITY,

               Defendant.
                                              /

                                 OPINION AND ORDER 1

       Before the Court is United States Magistrate Judge Mac R. McCoy’s Report

and Recommendation. (Doc. 28). Judge McCoy recommends granting Plaintiff

Sandi Birne’s Motion for Attorney’s Fees and awarding her counsel $21,909.75 in

attorney’s fees. Neither party objects to the Report and Recommendation, and the

time to do so has expired.

       A district judge “may accept, reject, or modify in whole or in part, the

findings or recommendations made by the magistrate judge.”                             28 U.S.C.

§ 636(b)(1). The district judge “shall make a de novo determination of those

portions of the report or specified proposed findings or recommendations to which




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objection is made.” Id. And “[t]he judge may also receive further evidence or

recommit the matter to the magistrate judge with instructions.” Id.

      After examining the file independently and upon considering Judge McCoy’s

findings and recommendations, the Court accepts and adopts the Report and

Recommendation.

      Accordingly, it is

      ORDERED:

      (1) United States Magistrate Judge Mac R. McCoy’s Report and

         Recommendation (Doc. 28) is ACCEPTED and ADOPTED and the

         findings are incorporated herein.

            a. Plaintiff’s Uncontested Petition for Attorney’s Fees is GRANTED

                (Doc. 26).

            b. The Commissioner of Social Security must PAY Plaintiff’s counsel

                $21, 909.75 in attorney’s fees.

            c. Upon Plaintiff’s counsel’s receipt of these fees, Plaintiff’s counsel

                must REMIT the $8,032.87 prior fee award under the EAJA to

                Plaintiff.

            d. If applicable, the Commissioner of Social Security must also PAY

                directly to Plaintiff any remaining portion of the past-due benefits

                previously withheld pending the Court’s determination of

                attorney’s fees.




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      (2) The Clerk is DIRECTED to enter an amended judgment awarding

         $21,909.75 to Plaintiff’s counsel for attorney’s fees.

      DONE and ORDERED in Fort Myers, Florida on October 19, 2020.




Copies: All Parties of Record




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